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 UNITED STATES DISTRICT COURT                                 EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                          §
                                                   §
 versus                                            §           CASE NO. 1:12-CR-119(4)
                                                   §
 VICKI STARK-FITTS                                 §

                                 MEMORANDUM AND ORDER

          Pending before the court is Defendant Vicki Stark-Fitts’s Motion for Out of Time Appeal

 (#514), wherein she requests additional time to appeal her conviction and sentence. On August

 22, 2013, Stark-Fitts pleaded guilty to Count One of the Information which charged her with a

 violation of 18 U.S.C. § 1962(c). She was sentenced on March 5, 2014, to 378 months’

 imprisonment followed by 5 years of supervised release. The court’s judgment was entered on

 March 6, 2014.

          As a result, the 14-day period for filing a notice of appeal expired on March 20, 2014. See

 FED. R. APP. P. 4(b)(1)(A)(i) (requiring that a defendant in a criminal case file a notice of appeal

 within 14 days after the entry of the judgment being appealed); United States v. Leijano-Cruz, 473

 F.3d 571, 572 (5th Cir. 2006). Additionally, the 30-day period for extending the time to file a

 notice of appeal under Rule 4(b)(4) expired on April 21, 2014. See FED. R. APP. P. 4(b)(4)

 (stating that “[u]pon a finding of excusable neglect or good cause, the district court may—before

 or after the time has expired, with or without motion and notice—extend the time to file a notice

 of appeal for a period not to exceed 30 days from the expiration of the time otherwise prescribed

 by this Rule 4(b)”); Leijano-Cruz, 473 F.3d at 572.

          Stark-Fitts deposited her motion in the postal box provided for inmates on June 10, 2014,

 96 days after judgment was entered in her case. Assuming arguendo that excusable neglect or
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 good cause exists for Stark-Fitts’s failure to appeal within 14 days, the court is unable to grant her

 request, as her motion was filed more than a month past the deadline imposed by Rule 4(b)(4).

 See FED. R. APP. P. 4(b)(4); United States v. Willis, 431 F. App’x 364, 365 (5th Cir. 2011)

 (affirming district court’s denial of motion to extend time when defendant’s motion was filed

 outside the 30-day window); United States v. Cantwell, 470 F.3d 1087, 1088 (5th Cir. 2006); see

 also United States v. Cabrera-Hernandez, No. 13-40078, 2014 WL 969804, at *1 (5th Cir. Mar.

 13, 2014) (upholding the district court’s denial of a motion to extend appeal time where the

 defendant’s motion “was filed beyond the 30-day time limit for extending the appeal period under

 FED. R. APP
          . . P. 4(b)(4)”). Accordingly, Stark-Fitts’s motion is DENIED.
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.

           SIGNED at Sherman, Texas, this 17th day of June, 2014.




                                               ________________________________________
                                                           MARCIA A. CRONE
                                                    UNITED STATES DISTRICT JUDGE




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